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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                                     CRIMINAL MINUTES -GENERAL

                                                                                            cc: USPO/PSA/FISCAL/CR INTAKE


                  CR 16-364(B)-PSG
 .Case No.        CV 17-5012-PSG (FFMx)                                                               Date    August 7, 2017


 Present: The Honorable        Philip S. Gutierrez

 Interpreter                   None

                                                                                            DOJ Alexander Porter / DOJ Claire Yan
           Wendy Hernandez                                Marea Woolrich                       AISA Omdoera Cameron-Banks
                Deputy Clerk                          Court Reporter/Recorder                          Assistant U.S. Attorney



                U.S.A. v. Defendant(s):                Present Cust. Bond           Attorneys for Defendants:         Present App• Ret.

                                                                                David Willingham /
DEFT 5: M.D. KAIN KUMAR                                  X             X        Julia Bredrup                            X                  X

                    GOVERNMENT'S MOTION TO MODIFY CONDITIONS OF BOND AND FOR A NEBBIA INQUIRY
                    PURSUANT TO 18 USC 3142(g)(4)
                    FILED 07-18-17(DOC. 194);

                    GOVERNMENT'S EX PARTS APPLICATION FOR A RESTRAINING ORDER AND APPOINTMENT OF A
                    RECEIVER
                    FILED 07-19-17(DOC. 1 ])-FILED IN THE CIVIL CASE

 Proceedings:       STATUS CONFERENCE



      The Court, having read and considered the documents listed above along with their supporting and
opposing documents, and the oral argument presented today, ORDERS as follows:

         1)         The Ex Parte Application is DENIED.
         2)         The Motion is Granted in Part and Denied in Part as follows: Request for a Nebbia Hearing is
                    DENIED; Request to Modify Conditions of Bond is GRANTED.

         The defendant is prohibited from billing to Medicare for physician services.

         The Court proceeds with the Status Conference, and ORDERS counsel to file the Stipulation to continue
trial in accordance with the Speedy Trial Act.



                                                                                                                                 14

                                                                           Initials of Deputy Clerk     wh




CR-11 (10/O8)                                          CRIMINAL MINUTES -GENERAL                                                      Page 1 of 1
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                  UMTED STATES DISTRICT COURT POR THE CENTRAL DISTRICT OF CALIFORNIA

     Case Namr. United States of America v.      ~A ~ N ~v m j~.~                                 ~No• ~/'
                                                                                                         ~/ 3~I~(a)— ~C~
                                                     Defendant   ~ Material Witness

     Violation ofTitle and Section J8 ~ '~7~' ~J2:/3zd ~4~'?hob                    ~G )G4~ i~h~l 2 X.~~
                                       Summons        (]Out of District []Under Seal                   Modified Date:          7/17
          Person      ecognizance ignatun        y                     vtt o urety Wi )usti cation           Release No.
            Unseaued Appearance fond                              (Fonre CR-3)Signed by:                             3~ s►
                                                                                   fi
                                                                                    ~SPdU~SC.                  ~Rde~se W PretrW OM.Y
      [
      ~Ap            ce Bond
                                                                                                               ~ gv~ ~ p~~on ONLY
       s_           ,00U
              ❑ Cash ~PO3K ~Amount or 96)                                                                      ~ ~~~~ ~~
                                                                  With Full Deeding of Property
                A@idavit ofSarety Without
                Justification(Form CR-4)Signed by:         ~ ~~             ~~~ ~ST
                                                                 5h W~ ~YiA-lib                 ~
                                                                                                               ❑(
                                                                                                                nu caaa;aoAs~~na
                                                                                                                 Except Clearing-Warrant           s
                                                                                                                                      unt be Met
       ~-~1Cl~u.Iti` Q/K~ S~Q~                                   Ga'~/ T                                           andPoN.soteil rb



                                                                                                                  Third-Party Custody
                                                              Collateral Bond in the Amaunt of(Cash                 davit(Form CR-31)
                                                              or Negorfable Secur~da):
                                                          s                                                       Bail Faced by Co
                                                        []Corporate Surety Bond in the Amount of:                      ~'1 ~.
                                                        S                                                        (Judge/Gerk's Inttia/s)

                                                      PRECONDITIONS TO RELEASE
 [
 ] The govemmeat has requested a Nebbia hearing undo 18 U.S.C.4 3142(8)(4).
 [
 ]'I~e Court has ordered a Nebbia hearing under 4 3142(g)(4).
   ~ The Nebbia hearing is set for                                     at           ❑ ~.❑ p.m.

                                                ADDiTIUNAL CONDITIONS 4F REI.F.ASE
 In addition to the GENERAL CONDITIONS ofRELEASE,the foIIowiag conditions ofrelease are
                                                                                             imposed upon you:
     Submit to:~Pretrial Services Agenry(PSA)supervision as directed by PSA;[]Probation
                                                                                            (USPO)supervision as directed by USPO.
                (The agtnry indicated above,PSA os USPO,w!A be referred to_ ijeiow as
                                                                                      '~kP     8A8~h'•~
     Surrender all passports and travel documents to Supervising Agcnry W t~'1u~•
                                                                      ~ ~-$ ~'~✓S                                  ,sign a Declaration
      re Passport and Other Travel Documents(Form CR-3n,and do not apply for a Passport or other
                                                                                                 travel document during the pendenry
     ofthis case.
[~Travel is restricted to      ~) ►
                                                                                            unless prior permission is granted by Supervising
    Agency to travel to a specific other location. Court periaiseIon is required for international travel.
    Reside as approved by Supervising Agenry and do not relocau without prior permission
                                                                                               from Supervising Agenry.
  (Maintain or actively seek employment and provide proof to Suptrvising Agenry. [Employment to approved
T                                                                                              be        by Supervising Agenry.
[]Maintain or begin an educational program and provide proof to Supervising Agenry.

                                                                               Defendant's Initials:                Datr.
CR•1(!0/15)                            CENTRAL DISfRICf OF CAI~FOI~NIA RELEASE ORDER AND BOND FORM                                    PAGE 1OF 4
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      G+ee Na~~: United States of America v.       ~/}/N ~~//n g/L                                     Case No. ~,/~— j~0 ~(Q~
                                                                                                                             ' n
                                                     Defendant      ~ Material Witness
 [J Avoid all contact,directly or indirectly(including by any electronic means), with any person who is a known victim or
          witness in the subject investigation or prosecution,[]including but not limited to

                                                            []except
     ~[ ,Avoid all toatact,directly or indirectly(including by any dectronic means),with any known codefendants e~ccept in the presence
          ofcounsel. Notwithstanding this provision, you may wntad the following codefendants without your counsel present:

         Do not possess any firearms,ammunition,destrucdve devices, or other dangerous weapons. Q In order to determine complianc
                                                                                                                                          e,
          you agree to submit to a search of your person and/or property by Supervising Agenry in conjunction with the U.S. Marshal.
   [~ Do not use or possess any idmtiRcation, mail matter,access device,orany identiScation-related material other than
                                                                                                                            in yoar
         own legal or true name without prior permission Crow Supervising Agenry.[]In order to dctermune complianc
                                                                                                                    e. you agrce
         to submit m a search ofyour per~n andJor property by Supervising Ageary in conjunction with tie U.S. Marshal.
         Do not rngagc in telemarketing.
        Do not sell, transfer, or give away any asset valued at S                               or more without notifying and obtaining
         permission from the Court,except
        Do not engage in tax preparation for others.
 []Do not use alcohol.
        Participate 9n the electraaic remote alwho)monitoring program as directed by Supervisin
                                                                                                g Agency and abide by all the sales and
         requirements ofthe program. You must pay all or part ofthe costs for treatment based
                                                                                              upon your ability to pay as determined by
         Supervising Agtncy.
        Do not use or possess illegal drugs or state-authoriztd medical marijuana. ~
                                                                                     In orderto determine Compliance, you agree to
        submitio a search of your person,and/or property by Supervising Agenry in conjunctio
                                                                                               n with the U.S. Marshal
        Do not use for pwposes of intoxication any wntrolled substance analogue
                                                                                as defined by federal law or street, synthetic, or
        designer psychoactive substance capable ofimpairing muital or physicalfunctionin
                                                                                            g more than minimally,e~cctpt as
        prescribed by a medical doctor.
       Submit to: []drug and/or[]alcohol testing. Ifdirected to do so,partidpate in outpatknt
                                                                                                   treatment approved by Supervising Agenry.
        You mast pay all or part of the costs For testing and ueatrnmt based upon
                                                                                  your  ability to pay as detmnined by Supervising Agenry.
       Participate in residential ~ drug and/or0alcohol treatrnent as directed by Supervisin
                                                                                                  g Agrncy. You must pay all or part ofthe costs
        ofuatment based upon your ability to pay as determined by Supervising Agency.
                                                                                            ~Rdwe to PSA only []Release to USPO ody
       Submit to a mental health evaluation.If directed to do so,participate in mental
                                                                                       health counseling and/or treatrnent approved by
       Supervising Agency. You must pay all or part ofthe costs based upon your
                                                                                   ability to pay as determined by Supervising Agenry.
       Participate in the Location Monitoring Program and abide by all oftho requiremen
                                                                                           ts ofthe program,under the direction ofSupervising
        Agency, w}tich ~w}llor ~wlll not include a location monitoring bracelet You
                                                                                            must pay all or put ofthe costs ofthe program based
       upon your ability to pay as determined by Supervising Agenry. Yon must be financially
                                                                                                 responsible for any lost or damaged equipment.
           Location monitoring only - no residential restrictions;
                               -or-
      []You are restricted to your residence everyday:

               ❑ ~ra                 ❑ am. ❑ p.m. to                            a.m. ❑ p.m.
               [
               ] as duetted by Supervising Agency;
                              -or-

                                                                               Defendant's Initials:              Date:
CR-L (10/15)                             CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND DOND FORM                             PAGE 2 OF 4
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       :ase Nair. United States of America v. ~/N Nv~~1—                                                  C.as~ No• ~~`3~ ~`~~!~`
                                                          efendant []Material Witness

                You are restricted to your residence at all times except for medical needs or treatment attorney visits. court appearan«s,and

                                                                                       all ofwhich must be preaeProved by Supervising Agrnry;
                Retnae to PSA only ~ Release to USPO only
     [
     ] You are placed inthethird-party custody(Fornt CR-3!)of
          Clear outstanding0warrants or~ DMV and traffic violations and provide proofto Supervising Agenry within                      days
              ofrelease from custody.
          Do not possess or have access w,in the home,the workplau,or any other laation,any device that offers Internet access except
              as approved by Supervising Agenry. ~ In order to determine compliance, you agree to submit to a search ofyour person
              and/or property by Supervising Agrnry in conjunction with the U.S. Marshal.
    []Do not associate or have verbal, written,telephonic,electronic,or any other communication with any person who is kss than
              the age of 18 acept in the presence ofa parent or legal guardian of the minor.
    (
    ] Do not loiter or be found within 100 feet ofany school}rard, park,playground,arade,or other place primarily used by children
              under the age of18.
          Do not be employed by,affiliated with,own,control,or otherwise partidpate directly or indirectly in the operation of
                                                                                                                              any daycare
          facility,school,or other organization dealing with the care,custody,or rnntrol ofchildren under the age of 18.
    [
    ] Do not view or possess chid pornography or child erotica(]In order to determine compliance, you agree to submit
                                                                                                                                   to n starch
          of your person and/or property,including computer hardware and software, by Supervising Agenry
                                                                                                                 in conjunction with the U.S.
          Marshal.
          Other conditions:
       ~t             /s           led                    r              3''~ Cs✓ ~~
      Q~yS+r.~tmS ~"~de~.-.e 2,,v+~~d.Q.~-S F. ~,- ~x~~o ~~ w~••,-2.or ~6e ,lied

        Thy defendant is prohibited from billing to Medicare for physician services.

                                                 GENERAL CONDITIONS OF RELEASE
   I will appear in person in accordance with any and all directions and orders
                                                                                   relating to my appearance in the above enfide~ matter as
   raay be given or issued by the Court or anyjudicial officer thereof, in that
                                                                                Court or before any Magistrate Judge thereof, or in any other
   United States District Court to which I may be removed or w which tie case maybe
                                                                                         transferred.
   I will abide by any judgment mtered in this matter by surnndering myself to
                                                                               sern any sentence unposed and will obey any order or
   direction in connection with such judgment as the Court may prescribe.

  I will ~nmediately inform my counsel ofany change in my contact informatio
                                                                             n,including my residence address and telephone number,
  so that I may be mched at all tunes.

  I will not commit a federal,state,or local crime during the period ofreleases

  I will not intimidate any witness,juror, or officer ofthe wort or obatrud the
                                                                                criminal investigation in this case. Addit[onally, I will not
  tamper with, harass, or retaliate against any alleged witness. victim, or informant
                                                                                      in this case. I understand that if I do so, I may be
  subject to further prosecution under the applicable statutes.

  I wilt cooperate in the collection ofa DNA sample under42 U.S.C.414135x.


                                                                                  Defendant's Initials:            .Date:
CR-1(10115)                               CF,NTML DISTRICT OF CALIFORNIA AEL6ASE ORDER AND BOND FO                                PAGE3OF 4
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        ~.ase Name: United States of America v.          ~N     4C ~ y(1(~R1-Q~                         Case No_ S~. r(Q— ~~(Py(~~'~
                                                   ~Qefendant         ~ Material Witness


                                       ACKNOWLEDGMENT OF DEFENDANTIMATERIAL WITNESS

       As a rnndition of my release on this bond,pursuant to Title 18 ofthe United States Code.I have read or have had interprete
                                                                                                                                  d tome
       and understand the general conditions ofrelease, the preconditlons,and the additional conditions ofrelease and
                                                                                                                      agree to comply with
       all conditions ofrelease imposed on me and to be bound by the provisions ofLocal Criminal Rule46-6.

       Furthermore,it is agreed and understood that this is a continuing bond (including any proceeding on appeal review)
                                                                                                                 or       which will
       continue In full force and effect onW such time as duly exonerated.

       I understand that violation ofany ofthe general andlor additional condition ofrelease
                                                                                  s          of this bond may resuh in a revocation of
       release an order of detention,and a new prosecution for an additional offense which could result
                                                                                                        in a term ofimprisonment andlor
       flee.

      I further understand that ifI fail to obey and perform any ofthe general and/or additional
                                                                                                 conditions ofrelease ofthis bond,this bond
      maybe forfeited to the United States of America.ifsaid forfeiture is not stt aside,judgment
                                                                                                    maybe ~ammarily entered in tWs
      Court Against me and each surety,jantly and crveraIIy,for the bond amount,together
                                                                                                 with iuterat and costa.Faecutlon ofthe
      judgmeat may be ~taaed or paymentsacred as pmvlded by the Federal Rules of CrLninal
                                                                                                    Procedure and other laws oftie
      United States and anp cash or real or penoad pmperty or the collateral previoael
                                                                                           y posted is oonaectlon with this bond may be
      forfeited.




      Date                                  Defendant/Material Witness'Sigrtctture                       Telephone Number



      City and State(DO NOTINCLUDE7lP CODE)



          Check ifinterpc+~ter is used I have interpreted into the                                               language this entire form
          and have been told by the defendant that he or she understands all ofit.



     Interprtter's Signature
                                                                                                       Date


      Approved:
                               United States1              agistratejudge                              Date

     Ifcash deposited: Receipt ~                              for S

   (This bond mar require surety agreements and afl9davits pursuant
                                                                         to Local Criminal Rule 46.}




                                                                                Defendant's Initiw~ls:..______.. Date:
CR-I(10/15}                               CENTRAL DISTRiC[OF CA3dFO1WIA RELEASE ORDER AND BOND F RM
                                                                                                                               PAG 4 OF 4
